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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   WEST PALM BEACH DIVISION

       UNITED STATES OF AMERICA,                        Case No. 23-80101-CR
                                                        CANNON/REINHART
       vs.

       DONALD J. TRUMP,
       WALTINE NAUTA, and
       CARLOS DE OLIVEIRA,

                   Defendants.
       _____________________________________

             PRESIDENT DONALD J. TRUMP’S MOTION FOR A REVISED SCHEDULE
                    FOR MOTIONS TO COMPEL AND CIPA § 4 LITIGATION

              President Donald J. Trump respectfully submits this motion and the accompanying

   Classified Supplement (filed under seal), pursuant to the Court’s instructions on September 12,

   2023, seeking an adjusted schedule for defense discovery requests, motions to compel, and

   motions pursuant to § 4 of the Classified Information Procedures Act (“CIPA”).1

              This motion arises from unjust efforts by the Special Counsel’s Office to foist rushed CIPA

   litigation on the Court, President Trump, and his co-defendants. Early in these proceedings, the

   Office boldly asserted that it “had all the discovery,” was “able to produce it,” and was “ready to

   go to trial.” (7/18/23 Tr. 62). Twice, the Office committed to “promptly” producing “all” witness




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     Defendants Waltine Nauta and Carlos De Oliveira join this motion. Although the parties have
   conferred in good faith, the Special Counsel’s Office opposes this motion and requests an
   opportunity to respond within one week of this submission. President Trump respectfully requests
   three business days after the Office’s opposition to file any reply. While this motion addresses
   specific aspects of the current schedule at the invitation of the Court, President Trump reserves the
   right to seek adjournments of other aspects of the schedule, including filings pursuant to CIPA §§ 5
   and 6 as well as well as the trial, based on his review of discovery and the status of productions by
   the Special Counsel’s Office.
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   statements, “even if [the statements] would not be deemed discoverable under 18 U.S.C. § 3500.”

   (Dkt. No. 30 at 2; Dkt. No. 76 at 5).

          The current schedule for discovery litigation and CIPA § 4 practice would only have been

   feasible if the Special Counsel’s Office made good on those promises. Yet, two months later, it

   has not done so. And there appear to be significant unresolved disputes regarding the appropriate

   scope of discovery that will require substantive briefing and judicial intervention. Therefore, the

   hurried and unprecedented approach by the Office is no longer viable.

          Nevertheless, the Special Counsel’s Office has not backed away from its assertion that on

   October 10, 2023, pursuant to the current schedule, it will seek permission to withhold materials

   from President Trump that are subject to the Office’s discovery obligations in this case. The Office

   has indicated that it intends to rely on CIPA § 4 in connection with that motion, and to ask the

   Court to determine based on an ex parte submission whether the material at issue is, inter alia,

   “relevant or helpful” to the defense. Ex parte proceedings are generally disfavored, and this type

   of motion presents the additional challenge of requiring the Court to assess potential defenses to

   the pending charges without the benefit of a truly adversarial process or any prior substantive

   motion practice.

          To mitigate the risks associated with applying that standard based on an ex parte CIPA § 4

   motion, courts routinely permit defendants to make parallel ex parte submissions describing their

   defense theories. The current schedule would deprive President Trump of a fair opportunity to

   prepare such a submission because he has not had enough time to review the discovery, the

   promised productions are not yet complete, and there are additional materials to which he is

   entitled. Accordingly, President Trump respectfully requests that the Court adopt the proposed

   schedule set forth below so that general discovery disputes can be resolved prior to CIPA § 4



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   litigation that will require the Court to anticipate and apply defense arguments in response to a

   request by the Special Counsel’s Office to “delete” some of the evidence in this case.

                                           BACKGROUND

          Just 15 weeks ago, on June 8, 2023, the Special Counsel’s Office unsealed a 44-page, 38-

   count Indictment charging President Trump and Waltine Nauta. (Dkt. No. 3). In a discovery status

   report on June 21, 2023, the Office undertook to “disclose promptly all witness statements and

   associated memorialization of those statements, even if they would not be deemed discoverable

   under 18 U.S.C. § 3500.” (Dkt. No. 30 at 2; see also Dkt. No. 76 at 5 (same); id. at 6 (“[T]he

   Government has promptly produced thorough discovery in an organized manner, to include early

   production of Jencks Act materials.”)).).

          On June 23, 2023, the Special Counsel’s Office sought a CIPA § 2 hearing and a

   continuance. (Dkt. Nos. 32, 34). In the continuance motion, the Office asserted that it had “moved

   swiftly to produce all unclassified discovery, including Jencks Act material, to the defense.” (Dkt.

   No. 34 at 3 ¶ 7). Based on that representation and others—without addressing classified Jencks

   Act and Giglio material—the Office proposed an unprecedented, compressed schedule for pretrial

   litigation, which included an August 14, 2023 deadline for its “first” motion pursuant to CIPA § 4.

   (Dkt. No. 34-2).

          At a CIPA § 2 conference on July 18, 2023, the Special Counsel’s Office represented to the

   Court that, “essentially from day one, we’ve had all the discovery and been able to produce it and

   to have the case ready from our perspective to go to trial.” (7/18/23 Tr. 62-63). The Office

   described an “initial” filing pursuant to CIPA § 4 as “fairly minimal,” but added:

          It is possible, as sometimes happens in these cases, that the defense will make discovery
          requests and some of those discovery requests may hit on things that could cause us to, as
          part of our response to them, seek to either delete discovery or provide the information in



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           the form of a summary or stipulation. So there could be sort of follow on Section 4
           litigation . . . .

   (Id. at 13-14).

           On July 21, 2023, the Court accurately characterized the schedule proposed by the Special

   Counsel’s Office as “atypically accelerated” and set a schedule for CIPA filings and other motion

   practice. (Dkt. No. 83 at 2). Less than a week after the Court set that schedule, the Office obtained

   a Superseding Indictment adding an additional defendant, Carlos De Oliveira, and additional

   counts. (Dkt. No. 85).

           As of this filing, and as set forth in more detail in the Classified Supplement, President

   Trump and his co-defendants still do not have access to significant portions of the materials that

   the Special Counsel’s Office has characterized as classified and conceded are discoverable—much

   less the additional classified materials to which President Trump is entitled following anticipated

   discovery litigation.

                                          APPLICABLE LAW

     I.    Collection, Review, And Production Of Discoverable Materials

           Rule 16 requires prosecutors to produce items that are “material to the defense.” Fed. R.

   Crim. P. 16(a)(1)(E). “Specifically, the rule covers evidence that ‘refute[s] the Government’s

   arguments that the defendant committed the crime charged.’” United States v. Khan, 2023 WL

   4349248, at *1 (S.D. Fla. 2023) (quoting United States v. Armstrong, 517 U.S. 456, 462 (1996)).

   Under Rule 16, the government must disclose discoverable “materials in the hands of a

   governmental investigatory agency closely connected to the prosecutor.” United States v. Jordan,

   316 F.3d 1215, 1249 (11th Cir. 2003). “The Eleventh Circuit follows the prosecution team

   standard, which considers the relationship between the government entity and the prosecutor’s

   office, looking at the nature of the assistance provided and the extent of cooperation on a particular

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   investigation.” United States v. Saab Moran, 2022 WL 4291417, at *3 (S.D. Fla. 2022) (cleaned

   up).

             Section 9-5.002 of the Justice Manual provides guidance on the scope of the prosecution

   team and required disclosures of materials possessed by the prosecution team.2 With respect to

   scope, relevant considerations include (1) “[w]hether the prosecutor knows of and has access to

   discoverable information held by the agency,” and (2) “[w]hether the prosecutor has obtained other

   information and/or evidence from the agency.” Id. Prosecutors must review and produce as

   appropriate, among other things, “substantive case-related communications” by members of the

   prosecution team, including communications “among prosecutors and/or agents.” Id.

       II.   Prudential Search Reviews

             In cases involving national security issues, prosecutors must conduct Prudential Search

   Reviews of materials possessed by members of the U.S. intelligence community (“USIC”) and

   elsewhere in the Executive Branch to determine whether the agencies possess discoverable

   classified information. See, e.g., In re Extradition of Ameen, 378 F. Supp. 3d 902, 906 & n.8 (E.D.

   Cal. 2009). Pursuant to Section 9-90.210 of the Justice Manual, a Prudential Search Review “shall

   be undertaken” where “there are documents or information within the intelligence community that

   fall reasonably within the scope of the prosecutor’s affirmative discovery obligations to the

   defendant, as that scope has been defined by the Federal courts.”3

             That the information within the possession of the intelligence community is classified shall
             have no effect either on the prosecutor’s obligation to undertake the review of [USIC] files
             or on the legally-mandated scope of that review. Similarly, except as modified by CIPA,
             the prosecutor’s obligation to produce to the defendant information found during that


   2
       See https://www.justice.gov/jm/jm-9-5000-issues-related-trials-and-other-court-proceedings
   (last accessed Sept. 22, 2023).
   3
       See https://www.justice.gov/jm/jm-9-90000-national-security (last accessed Sept. 22, 2023).

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          review is unaffected by the classified nature of that information.

   Id.

   III.   CIPA § 4

          CIPA § 4 authorizes prosecutors to seek a protective order with respect to discoverable

   classified information. CIPA § 4 has been interpreted to require prosecutors to demonstrate that

   the materials are classified, to invoke the state-secrets privilege, and to demonstrate that the

   materials are not “relevant or helpful” to the defense. See, e.g., United States v. Aref, 533 F.3d 72,

   79 (2d Cir. 2008). This standard is “below ‘the level that would trigger the Government’s

   obligation under Brady . . . to disclose exculpatory information.’” United States v. Asainov, 618

   F. Supp. 3d 105, 112 (E.D.N.Y. 2022) (quoting Aref, 533 F.3d at 80).

          CIPA § 4 provides the Court with discretion to review some, or all, of an application for a

   protective order ex parte and in camera, but it does not require that the Court choose that course.

   See United States v. Al-Farekh, 956 F.3d 99, 107 (2d Cir. 2020). At least one Court of Appeals has

   reversed a district court’s decision to permit prosecutors to proceed ex parte when seeking a CIPA

   § 4 protective order. See United States v. Stillwell, 986 F.3d 196, 201 (2d Cir. 2021) (“It was only

   after Defendants were able to review the previously undisclosed material [covered by a CIPA § 4

   protective order] that they were in a position to even determine whether to pursue such a claim.”).

          Where courts permit prosecutors to proceed ex parte under CIPA § 4, corresponding ex

   parte submissions by the defense are also appropriate so that the defendant has an opportunity to

   disclose defense strategy to aid the court’s determination of whether the materials at issue are

   “relevant or helpful.” See Al-Farekh, 956 F.3d at 109 (“[T]he District Court met ex parte with

   defense counsel so that counsel could present [defendant’s] theory of the case and his potential

   defenses.”).


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                               PROPOSED MODIFIED SCHEDULE

          President Trump respectfully submits that the following revised schedule for discovery

   litigation and CIPA § 4 practice is necessary to provide sufficient time for the Special Counsel’s

   Office to complete the discovery it has conceded is appropriate, for the defense to review that

   discovery and seek any additional materials to which the defendants are entitled, and for the Court

   to address any resulting motions.

          Date                                            Event
    Oct. 6, 2023       Completion of classified discovery described at status conferences and the
                       September 13, 2023 production letter by the Special Counsel’s Office
    Oct. 20, 2023      Defense discovery requests submitted to Special Counsel’s Office
    Nov. 3, 2023       Special Counsel’s responses to defense discovery requests
    Nov. 17, 2023      Defense motions to compel discovery
    Dec. 1, 2023       Special Counsel’s responses to discovery motions
    Dec. 8, 2023       Defense replies in support of discovery motions
    Jan. 5, 2024       Deadline for Special Counsel’s CIPA § 4 motion (following time for the
                       Court’s consideration of discovery motions and any necessary supplemental
                       productions)
    Jan. 12, 2024      Defense responses to CIPA § 4 motion (including any objections to ex parte
                       proceedings and submissions relating to defense theories)
    Jan. 19, 2024      Special Counsel’s reply in support of CIPA § 4 motion

                                             DISCUSSION

          The proposed revised schedule is necessary to ensure fairness in these proceedings, to

   conserve judicial resources and allow for efficient resolution of existing disputes, and in light of

   the fact that the Special Counsel’s Office has not produced discovery in the manner that it described

   to the Court in June and July 2023.

     I.   The Special Counsel’s Office Has Not Met Its Discovery Commitments

          The current schedule follows the initial proposal by the Special Counsel’s Office to dual-

   track litigation over defense discovery requests and pursuant to CIPA § 4. (Compare Dkt. No. 83

   at 5-6, with Dkt. No. 34-2). At the time the schedule was set, President Trump did not object to



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   that approach based on the Office’s representations about its approach to discovery in this case,

   including:

               June 21, 2023: “[We will] disclose promptly all witness statements . . . even if they
                would not be deemed discoverable under 18 U.S.C. § 3500.” (Dkt. No. 30 at 2
                (emphasis added)).

               June 23, 2023: “[We have] moved swiftly to produce all unclassified discovery,
                including Jencks Act material.” (Dkt. No. 34 at 3 ¶ 7 (emphasis added)).

               July 18, 2023: “[W]e’ve had all the discovery and been able to produce it and to have
                the case ready from our perspective to go to trial.” (7/18/23 Tr. 62-63 (emphasis
                added)).

               July 18, 2023: “[O]n September 12th, the Defense gets access to the remaining
                classified discovery.” (Id. at 16).

   Had these statements been accurate, it was at least conceivable that defense discovery requests and

   any related motions to compel would have been circumscribed. And, had these statements been

   accurate, President Trump and the other defendants would have had at least some time to review a

   complete production of all discovery, including Jencks Act material, prior to addressing the

   “initial” CIPA § 4 motion contemplated by the Special Counsel’s Office. (7/18/23 Tr. at 14).

          But these statements were not accurate. The Special Counsel’s Office “appears to have

   looked with tunnel vision at limited issues that it believed were relevant.” United States v.

   Sedaghaty, 728 F.3d 885, 903 (9th Cir. 2013). For example, the Office has not produced any

   materials relating to the classification reviews that it described to the Court. (See 7/18/23 Tr. at 66

   (“[A]ll the documents have now, at this point, gone through a classification review.”)). The Office

   estimated that classified discovery would be complete by September 12, 2023, and the Court’s

   scheduling order emphasized “the need for the Defendants . . . to adequately review the classified

   discovery.” (Dkt. No. 83 at 4). As explained in the Classified Supplement, however, President




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   Trump and his defense team do not even have access to 16 of the 32 documents at issue in the

   alleged violations of 18 U.S.C. § 793(e).

           The Classified Supplement also demonstrates that potential witnesses exchanged electronic

   communications contemporaneously with the briefings and document handling at issue. The

   Special Counsel’s Office told the Court that it had produced “all” such “witness statements,” as

   well as “all” of the “Jencks Act material,” but only a few of those communications have been made

   available to President Trump thus far. Similarly, the Classified Supplement provides an example

   of a communication involving a member of the prosecution team that was included in classified

   discovery and is subject to, at least, the Office’s Giglio obligations relating to impeachment

   material. But it does not appear that the Office has produced any of the Jencks Act or Giglio

   material by law enforcement witnesses whose testimony regarding critical investigative steps will

   be central at the trial.

           Although the Justice Manual required the Special Counsel’s Office to collect and review

   all “substantive case-related communications” by members of the prosecution team, the Office

   declined to explain to President Trump’s counsel how it had defined the prosecution team during

   a meet-and-confer session on September 21, 2023. See Justice Manual § 9-5.002. Finally,

   President Trump illustrated in the Classified Supplement why the Prudential Search Reviews

   mandated by the Justice Manual are particularly appropriate in this case with respect to, among

   other things, the “national defense information” element of § 793(e). During the September 21

   meet-and-confer, however, the Special Counsel’s Office declined to disclose whether and to what

   extent it had undertaken Prudential Search Reviews. Thus, although the Special Counsel’s Office

   committed publicly to construing its obligations broadly and producing discovery promptly, the

   Office has not done so thus far. Accordingly, the requested relief is appropriate.



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    II.   In Light Of The Gaps In Existing Productions, President Trump Anticipates
          Extensive Discovery Requests

          President Trump’s preliminary review of the discovery produced thus far suggests that

   extensive discovery requests, and potentially litigation, will be necessary to address existing gaps

   in the productions by the Special Counsel’s Office.

          For example, President Trump intends to seek information relating to Prudential Search

   Reviews, additional electronic communications, the scope of the prosecution team, and related

   case-file reviews by the Special Counsel’s Office to comply with its discovery obligations. Based

   on review of witness statements that have been produced, President Trump also intends to seek

   discovery relating to an anticipated selective prosecution motion, as well as information relating

   to historical practices of the National Archives and Records Administration and under the

   Presidential Records Act.

          President Trump’s expected discovery requests will likely require Prudential Search

   Reviews, which could necessitate additional delays. See, e.g., United States v. Doe No. 2, 2009

   WL 10720338, at *3 (S.D. Fla. 2009) (noting that, in response to a defense request, prosecutors

   had “launched inquiries, seeking damage assessments, to all United States governmental entities

   that reasonably could be expected to have such assessments if such assessments exist”); see also

   United States v. Kuciapinski, 2022 WL 3081928, at *6 (D. Colo. Aug. 3, 2022) (“Pursuant to CIPA,

   the Counterintelligence and Export Control Section made a Prudential Search Request with the

   federal agencies . . . controlling the discovery that K. Kuciapinski requested . . . .”). Kuciapinski

   illustrates the extensive delays that such Reviews can cause in cases involving classified

   information and CIPA litigation. See 2022 WL 3081928, at *6 (“[T]he Government anticipated

   that based on [defendant’s] discovery requests, it would take at a minimum four months for the



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   agencies to disclose the materials requested, for the Government to review them, and for the

   Government to file a CIPA Section 4 motion.”).

    III.   The Court Should Resolve Motions To Compel Prior To CIPA § 4 Filings

           Despite the gaps in discovery and need for additional time to meet and confer regarding

   current disputes, the Special Counsel’s Office seeks to press ahead with an ex parte CIPA § 4 filing

   currently that is due in less than three weeks, on October 10, 2023. The Court should resolve

   existing discovery disputes before addressing such a motion.

           President Trump does not concede that ex parte filings are appropriate in light of his

   previous access to much of the material at issue and the security clearances granted to his attorneys.

   While CIPA § 4 confers discretion on the Court to address the motion in that fashion, there are

   obvious risks to that approach—particularly in light of the fact that the Special Counsel’s Office

   will ask the Court to stand in the defendant’s shoes and evaluate whether discoverable information

   is “relevant or helpful” to the defense. See, e.g., United States v. Belfast, 2007 WL 9705938, at *2

   (S.D. Fla. 2007) (“[E]x parte communications from the Government to the Court are disfavored

   because of the general concern that the Government’s information will be less reliable than if it is

   disclosed to the Defendant.” (citing United States v. Napue, 834 F.2d 1311, 1322 (7th Cir. 1987)).

   As noted above, courts faced with an ex parte CIPA § 4 motion typically mitigate these risks by

   offering the defense an opportunity to make a corresponding ex parte submission describing

   defense theories that may be implicated. See, e.g., United States v. Kotey, 545 F. Supp. 3d 331,

   337-38 (E.D. Va. 2021) (“[I]n order to allow full consideration of defendants’ perspectives in the

   adjudication of the government’s motion, defendants will be given an opportunity to present, ex




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   parte, any defenses they plan to assert and their theory of the case in general.”).4 The current

   schedule contemplates that type of filing on October 10, 2023, which is 10 days before the deadline

   for motions to compel and long before those motions will be fully briefed and resolved.

          Under the current circumstances, President Trump cannot reasonably be expected to meet

   that deadline. Requiring him to do so in service of the rush to trial by the Special Counsel’s Office

   would only result in unnecessary substantive and scheduling problems. First, the defendants

   cannot articulate defense theories in a manner that will facilitate the Court’s consideration of a

   CIPA § 4 motion prior to obtaining and reviewing the materials to which they are entitled. Motions

   to compel should be resolved beforehand. Second, the Special Counsel’s Office has already

   previewed that defense discovery requests may necessitate additional CIPA § 4 practice, which

   would require the Court and the defendants to address the same type of motion multiple times.

   (See 7/18/23 Tr. at 13-14). Third, on the current schedule, subsequent disclosures could cause

   President Trump or the other defendants to supplement or revise defense strategies, which could

   in turn require the Court to revisit any prior protective orders issued under CIPA § 4. These are all

   scenarios that could, in the words of the Special Counsel’s Office, “throw the schedule off.”

   (7/18/23 Tr. 17). They can be easily avoided by adopting the proposed revised schedule.




   4
    See also, e.g., United States v. Liu, 2021 WL 3374535, at *1 (S.D.N.Y. 2021); United States v.
   Chi Ping Ho, 2018 WL 6082514, at *3 (S.D.N.Y. 2018); United States v. Ying Lin, 2018 WL
   3404137, at *1 (E.D.N.Y. 2018); United States v. Ng Lap Seng, 2017 WL 2715213, at *1 (S.D.N.Y.
   2017); United States v. Hausa, 232 F. Supp. 3d 257, 260-61 (E.D.N.Y. 2017); United States v.
   Mostafa, 992 F. Supp. 2d 335, 337-38 (S.D.N.Y. 2014); United States v. Babafemi, 2014 WL
   1515277, at *3 (E.D.N.Y. 2014); United States v. Kim, 2013 WL 3866542, at *1 (D.D.C. 2013);
   United States v. Libby, 429 F. Supp. 2d 18, 26 (D.D.C. 2006); United States v. Pointdexter, 727 F.
   Supp. 1470, 1479 (D.D.C. 1989); United States v. North, 698 F. Supp. 322, 324 (D.D.C. 1988).

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    IV.   The Proposed Revised Schedule Is Consistent With DOJ Practice

          The proposed revised schedule requires motions to compel less than six months after the

   Special Counsel’s Office charged President Trump in this case, and a single set of CIPA § 4

   litigation approximately six months after the Indictment was filed. This schedule is consistent

   with the Court’s complex-case determination under the Speedy Trial Act (Dkt. No. 85 at 4), as well

   as schedules in other complex cases.

          For example, in United States v. Arcangel Pretel Ortiz, et al., which relates to the

   assassination of Haitian president Jovenel Moïse, the first defendant was arrested in January 2022,

   and the prosecutors’ CIPA § 4 brief is not due until October 20, 2023. (See Dkt. Nos. 5, 408, No.

   22 Cr. 20104 (S.D. Fla. Sept. 15, 2023)).        The Court authorized that extended schedule

   notwithstanding that the prosecutors had been “working diligently to address potential issues of

   classified discovery since before any defendant was charged in this case.” (Dkt. No. 290, id.). In

   United States v. Diaz Guillen, the defendant’s first court appearance took place in May 2022, and

   the prosecutors filed a CIPA § 4 motion in October 2022, on the eve of trial. (See Dkt. Nos. 53,

   189, No. 18 Cr. 80160 (S.D. Fla. Oct. 13, 2022)).5 In United States v. Padilla, the defendant was

   charged in November 2005, his first court appearance took place in January 2006, and the

   prosecutors filed a CIPA § 4 motion in March 2007. (Dkt. Nos. 141, 155, 914, No. 04 Cr. 60001

   (S.D. Fla. Mar. 14, 2007)). In United States v. Teixeira, which involves charges relating to the

   disclosure of national defense information, the defendant was arrested in April 2023, the




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     Diaz Guillen is also an example of a case in which the prosecutors failed to timely identify
   discoverable information through the type of Prudential Search Reviews that are necessary in this
   case. (See Dkt. No. 162 at 10, No. 18 Cr. 80160 (S.D. Fla. Oct. 3, 2022) (Judge Dimitrouleas
   admonishing prosecutors that “finding out two or three weeks before the trial that you want to call
   witnesses that have national security concerns about their testimony is not something that I'm
   impressed with”)).
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   prosecutors asserted in a September 19, 2023 filing that “it is premature to set any deadlines under

   the Classified Information Procedures Act,” and the next status conference is not scheduled to

   occur until December 21, 2023. (Dkt. Nos. 105-106, No. 23 Cr. 10159 (D. Mass. Sept. 19, 2023)).

   These examples illustrate that the approach of the Special Counsel’s Office thus far has been the

   exception, not the rule. That approach is no longer feasible given the status of discovery and the

   need for fairness and efficiency in anticipated CIPA litigation.

                                            CONCLUSION

          For the foregoing reasons, President Trump respectfully submits that the Court should

   adopt the proposed revised schedule set forth above.

    Dated: September 22, 2023                         Respectfully submitted,

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                                CERTIFICATE OF SERVICE

         I, Christopher M. Kise, certify that on September 22, 2023, I electronically filed the

   foregoing document with the Clerk of Court using CM/ECF.

                                                 /s/ Christopher M. Kise
                                                 Christopher M. Kise




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